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                     UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF GEORGIA
                        SAVANNAH DIVISION


ROBERT MILIE,TERRY
ALBERTS,JR., MATTHEW
CAPLES,BRIAN COYNE,
CHRISTOPHER DAVIS,
CHRISTOPHER HANKS,SHAWN
HARTL,FRANCIS LANG,
LAWRENCE LILIENTHAL,JR.,
RYAN MARQUEZ,MATTHEW
                                                     COMPLAINT
MIRAGLIA,CHAD OSTERLUND,
MICHAEL SCHONFELD,
                                                     Case No
                                                                 C v4l® ~ t.l'J'
NICHOLAS JOHN ZBIKOWSKI

                                                     Jury Trial Demand
       Plaintiffs,
vs.



CITY OF SAVANNAH,GA,

       Defendant.




                                   COMPLAINT


       Plaintiffs, by and through their counsel, respectfully submit this complaint

on their own behalf and on behalf ofthose similarly situated, against defendant

City of Savannah, Georgia, and states as follows:

                         PRELIMINARY STATEMENT


        1.   Plaintiffs are employees ofthe City of Savannah, Georgia, and

plaintiffs, on their own behalfand on behalf ofthose similarly situated, bring this

lawsuit as a collective action in accordance with 29 U.S.C. §216(b)ofthe Fair
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